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Attorne s for Defendant
6 COAS PROFESSIONAL, INC.
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11 ' UNITED sTATEs DISTRICT COURT
12 CENTRAL DISTRICT C)F CALIFORNIA
13
4 ADRIAN REYES, CASE NO. lZ-CV-01576-DMG
1
15 Plaintiff, NOTICE OF sETTLEMENT
6 vs. 4
1
COAST PR()FES_SION_AL INC.;
17 and DOES 1-10, inclusive
1 8 Defendants.
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20
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22
23 T0 ALL PARTIES AND THEIR COUNSEL OF RECORD:
24 PLEASE TAKE NOTICE that Defendant COAST PROFESSIONAL INC. and Plaintiff
25 ADRIAN REYES have settled the above~entitled matter as to COAST PROFESSIONAL INC.
26 The parties anticipate that they Will complete the settlement, and that the parties Will tile a
27 Stipulatic)n Re Disrnissal, With prejudice, as to the entire action pursuant to FRCP 41(a)(1)(A)(ii),
28 no later than 45 days from the date Of this Notice.
07315.00/192495 NoTlcE OF sEr'I‘LEMEN'I
CASE NO. 12-cv-01576~DMG-0P
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CARLSON & MESSER LLP
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5:12-cV-01576-D|\/|G-OP Document 16 Filed 03/13/13 Page 2 of 3 Page |D #:68

ln light of the settlement, the parties respectfully request the Court take off calendar all

future hearing dates in this case.

DATED: March 13, 2013

DATED: March 13, 2013

CARLSON & MESSER LLP

By: /s/ David J. Kaminski
David J. Karninski
Stephen A. Watkins
Attorneys for Defendant,
COAST PROFESSIONAL, INC.

PRICE LAW GROUP APC

By: /s/ G. Thornas Martin, 111
G. Thomas Martin, 111
Attcrneys for Plaintiff,
ADRIAN REYES

 

07315.00/192495

NOTICE OF SET1 LEMENT
CASE NO. l2-cv-01576-DMG-OP

 

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CERTIFICATE OF SERVICE
1 hereby certify that on this 13th day of March, 2013, a true and accurate copy of the
foregoing NOTICE OF SETTLEMENT With the Clerk of Court using the ECF system Which
Will send notification of such filing to the following E-mail addresses:

tom@p|g|awfirm.com

/s/David J. Kaminski
David J. Kaminski

 

07315.00/192495 NOTlCE OF SE l` l`LEMEN'l`
' CASE NO. l2-cv-01576-DMG-OP

 

